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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1139V
                                      Filed: March 2, 2017
                                         UNPUBLISHED

****************************
JAMIE MOHR,                             *
                                        *
                   Petitioner,          *    Damages Decision Based on Proffer;
v.                                      *    Influenza (“Flu”); Shoulder Injury
                                        *    Related to Vaccine Administration
SECRETARY OF HEALTH                     *    (“SIRVA”);
AND HUMAN SERVICES,                     *    Special Processing Unit (“SPU”)
                                        *
                   Respondent.          *
                                        *
****************************
Michael McLaren, Black McLaren, et al., PC, Memphis, TN, for petitioner.
Debra Begley, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

      On September 14, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she received an influenza (“flu”) shot on
December 27, 2015 and subsequently suffered a shoulder injury related to vaccine
administration (“SIRVA”). Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

        On December 20, 2016, a ruling on entitlement was issued, finding petitioner
entitled to compensation for a SIRVA. On February 28, 2017, respondent filed a proffer
on award of compensation (“Proffer”) indicating petitioner should be awarded
$90,902.04. Proffer at 1. In the Proffer, respondent represented that petitioner agrees
with the proffered award. Based on the record as a whole, the undersigned finds that
petitioner is entitled to an award as stated in the Proffer.
1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $90,902.04 in the form of a check payable to
petitioner, Jamie Mohr. This amount represents compensation for all damages that
would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

*************************************
JAMIE MOHR,                         *
                                    *
                  Petitioner,       *                        No. 16-1139V
                                    *                        CHIEF SPECIAL MASTER
v.                                  *                        NORA BETH DORSEY
                                    *
SECRETARY OF HEALTH AND             *
HUMAN SERVICES,                     *
                                    *
                  Respondent.       *
*************************************

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Items of Compensation

       The Court issued a Ruling on Entitlement on December 20, 2016. Based upon the

evidence of record, respondent proffers that petitioner should be awarded $90,902.04, which

represents all elements of compensation to which petitioner would be entitled under 42 U.S.C.

§ 300aa-15(a).1 Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment of $90,902.04, in the form of a check payable to petitioner. Petitioner agrees.

                                                     Respectfully submitted,

                                                     CHAD A. READLER
                                                     Acting Assistant Attorney General




1
       Should petitioner die prior to the entry of judgment, the parties reserve the right to move
the Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering.
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                                           C. SALVATORE D’ALESSIO
                                           Acting Director
                                           Torts Branch, Civil Division

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                                           ANN D. MARTIN
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                                           /s/ DEBRA A. FILTEAU BEGLEY
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Dated: February 28, 2017




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